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   7
   8                                 UNITED STATES DISTRICT COURT
   9                             CENTRAL DISTRICT OF CALIFORNIA
 10
 11        CONSTRUCTION LABORERS                     CASE NO.:
           TRUST FUNDS FOR SOUTHERN
 12        CALIFORNIA ADMINISTRATIVE                 COMPLAINT FOR:
           COMPANY, a Delaware limited
 13        liability company,                        1. MONETARY DAMAGES DUE TO
                                                        EMPLOYEE BENEFIT PLANS
 14
                               Plaintiff,            2. SPECIFIC PERFORMANCE OF
 15                                                     OBLIGATION TO PRODUCE
                  v.                                    RECORDS FOR AUDIT
 16
 17        VASILJ, INC., a California
           corporation,                              [29 U.S.C. §§ 1132(g)(2) and 1145;
 18                                                  29 U.S.C. § 1132(a)(3); 29 U.S.C. § 185]
 19                            Defendant.
 20
 21
 22
 23              Plaintiff, Construction Laborers Trust Funds for Southern California
 24        Administrative Company, a Delaware limited liability company, alleges:
 25        ///
 26        ///
 27        ///
 28        ///

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   1                                 JURISDICTION AND VENUE
   2
   3            1.     This action is brought by a fiduciary administrator on behalf of
   4       employee benefit plans against an employer. It is brought in accordance with the
   5       terms and conditions of the plans, the collective bargaining agreements to which the
   6       employer is bound and applicable statutes to: (a) recover unpaid monthly employee
   7       fringe benefit contributions, and related damages due to the plans by the employer
   8       through enforcement of the terms of the collective bargaining agreements, plan
   9       agreements and applicable statutes (Claim 1); and (b) compel the employer to
 10        produce records for an audit to determine if additional amounts are due (Claim 2);
 11        This Court has jurisdiction pursuant to: sections 502(g)(2) and 515 of the Employee
 12        Retirement Income Security Act (ERISA) (codified at 29 U.S.C. §§ 1132(g)(2) and
 13        1145); section 502(a)(3) of ERISA (codified at 29 U.S.C. § 1132(a)(3)); and section
 14        301 of the Labor Management Relations Act (LMRA) (codified at 29 U.S.C. § 185).
 15        Pursuant to section 502(e)(2) of ERISA (codified at 29 U.S.C. § 1132(e)(2)), venue
 16        is proper in this district for each of the following reasons: the plans are administered
 17        in this district; the employer's performance and breach took place in this district; and
 18        the employer resides or may be found in this district.
 19
 20                                              PARTIES
 21
 22             2.     Plaintiff ("ADMINCO") is an administrator of, agent for collection for, a
 23        fiduciary to, and brings this action on behalf of the following employee benefit
 24        plans: Laborers Health and Welfare Trust Fund for Southern California;
 25        Construction Laborers Pension Trust for Southern California; Construction Laborers
 26        Vacation Trust for Southern California; Laborers Training and Re-Training Trust
 27        Fund for Southern California; Fund for Construction Industry Advancement; Center
 28        for Contract Compliance; Laborers Contract Administration Trust Fund for Southern

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   1       California; Laborers' Trusts Administrative Trust Fund for Southern California; and
   2       Southern California Partnership for Jobs Trust Fund (collectively "TRUST
   3       FUNDS"). Each of the TRUST FUNDS is an express trust created by written
   4       agreement, an employee benefit plan within the meaning of section 3(3) of ERISA
   5       (29 U.S.C. § 1002(3)), and a multi-employer plan within the meaning of section
   6       3(37)(A) of ERISA (29 U.S.C. § 1002(37)(A)). Each of the TRUST FUNDS exists
   7       pursuant to ERISA and section 302 of the LMRA (29 U.S.C. § 186). ADMINCO
   8       and the TRUST FUNDS' principal places of business are in the County of Los
   9       Angeles, State of California.
 10              3.    ADMINCO is a fiduciary as to the TRUST FUNDS, in that it:
 11                    A.     Exercises discretionary authority or discretionary control
 12                    respecting the collection of delinquent (or possibly delinquent)
 13                    contributions to the TRUST FUNDS, including but not limited to
 14                    discretion in auditing employers, deciding what claims to assert, acting
 15                    as agent of the TRUST FUNDS in asserting claims, waiving liquidated
 16                    damages, settling claims, and releasing claims; and
 17                    B.     Exercises authority or control respecting management or
 18                    disposition of assets of the TRUST FUNDS, including but not limited to,
 19                    receiving delinquent contributions collected and holding them in a bank
 20                    account in its own name over which it has check-writing authority, and
 21                    then exercising discretion in allocating those assets among the different
 22                    TRUST FUNDS, different participants, different time periods and
 23                    different jobs.
 24             4.     ADMINCO is informed and believes, and on that basis alleges, that
 25        defendant VASILJ, INC. (“EMPLOYER”): is a corporation organized and existing
 26        under the laws of the State of California; has a principal place of business in the City
 27        of Irwindale, County of Los Angeles, State of California; and does, or at all relevant
 28        times did, business in the State of California as a construction contractor in an

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   1       industry affecting interstate commerce.
   2
   3                                         AGREEMENTS
   4            5.      At all times herein mention and since at least December 10, 2009,
   5       EMPLOYER was and continues to be bound to certain collective bargaining
   6       agreements of the Southern California District Council of Laborers and its affiliated
   7       local Unions (collectively "Laborers Union") known as the Construction Master
   8       Labor Agreements, including one known as the Southern California Master Labor
   9       Agreement.
 10             6.      Pursuant to the Construction Master Labor Agreements, EMPLOYER
 11        became bound to the terms and conditions of the various trust agreements that
 12        created each of the TRUST FUNDS ("Trust Agreements"). When referenced
 13        collectively hereinafter, the Construction Master Labor Agreements and Trust
 14        Agreements are referred to as the “Agreements."
 15             7.      Under the terms of the Agreements, employers, including the
 16        EMPLOYER, are required to submit monthly fringe benefit contributions ("Monthly
 17        Contributions") to the TRUST FUNDS for all hours worked by (or paid for) their
 18        employees who perform work covered by the Agreements ("Covered Work").
 19             8.      Under the terms of the Agreements, employers, including the
 20        EMPLOYER, are required to submit to the TRUST FUNDS, with their Monthly
 21        Contributions, monthly reports, itemized by project, listing the names of their
 22        employees who performed Covered Work, their Social Security numbers, the hours
 23        of work performed by (or paid for) each, and the resulting Monthly Contributions
 24        due for them ("Monthly Reports"). The TRUST FUNDS rely on Monthly Reports –
 25        and the accuracy of those reports – to determine the amount of Monthly
 26        Contributions due to the TRUST FUNDS by employers and the credit toward fringe
 27        benefits to be allocated to their employees.
 28             9.      The Agreements provide for the payment of interest on delinquent

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   1       Monthly Contributions from the date due at a rate set by the trustees of the TRUST
   2       FUNDS. The trustees have set that rate at five percent (5%) above the prime rate set
   3       by the Federal Reserve Board of San Francisco, California. The Agreements also
   4       provide for the payment of liquidated damages for each month of delinquent
   5       Monthly Contributions or Monthly Reports, for each TRUST FUND separately, in
   6       the amount of twenty percent (20%) of the delinquent Monthly Contributions due to
   7       the Trust Fund or $25, whichever is greater (except with respect to the Laborers
   8       Contract Administration Trust Fund for Southern California, which assesses
   9       liquidated damages at the greater of $20 or ten percent (10%)). In addition,
 10        employers are required to pay fees for the submission of checks not honored by the
 11        banks upon which they are drawn.
 12              10.   The failure of employers to pay Monthly Contributions when due causes
 13        damages to the TRUST FUNDS and its participants beyond the value of the unpaid
 14        Monthly Contributions, which are difficult to quantify. Apart from the fees and
 15        costs incurred in litigation, the harm caused includes, but is not limited to, the
 16        administrative costs of processing and collecting delinquencies, the costs of
 17        adjusting benefit credits and notifying participants, the additional burden placed on
 18        contractors who faithfully pay their contributions, and the burden upon participants
 19        and beneficiaries who may be unable to qualify for benefits they may have otherwise
 20        been entitled to had it not been for the delinquency of their employer. The liquidated
 21        damages provision of the Agreements was meant to compensate for the loss to the
 22        TRUST FUNDS, which is incurred even if the Monthly Contributions for a given
 23        month are later paid. It is based on the TRUST FUNDS' ratio of collection costs
 24        over amounts collected, which are regularly reported to the TRUST FUNDS'
 25        trustees.
 26              11.   Under the terms of the Agreements, employers, including the
 27        EMPLOYER, agree to subcontract Covered Work only to entities that are signatory
 28        to a Construction Master Labor Agreement applicable to the work performed. If an

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   1       employer subcontracts Covered Work to a non-signatory entity (“Subcontracting
   2       Violation(s)”), the employer becomes liable to the TRUST FUNDS in an amount
   3       equal to the Monthly Contribution that would have been due if the entity had been
   4       signatory, plus interest, liquidated damages and audit fees thereon.
   5            12.    Under the terms of the Agreements, employers, including the
   6       EMPLOYER, agree not to subcontract Covered Work to entities that are delinquent
   7       to the TRUST FUNDS. If an employer subcontracts Covered Work to such an entity
   8       the employer becomes under the terms of the Agreements liable to the TRUST
   9       FUNDS for the Monthly Contributions due by the subcontractor and any lower-tier
 10        subcontractors, plus interest and audit fees thereon.
 11             13.    The Agreements provide the TRUST FUNDS with specific authority to
 12        examine the payroll and business records of employers, including the EMPLOYER,
 13        to determine whether they have reported all hours worked by (or paid for) their
 14        employees who perform Covered Work, and whether they have paid the appropriate
 15        Monthly Contributions and other amounts due by them to the TRUST FUNDS,
 16        and/or to determine whether the employers, including EMPLOYER are in
 17        compliance with the reporting and payment obligations of the Agreements. The
 18        Agreements further provide that employers, including the EMPLOYER, must
 19        maintain records sufficient for the TRUST FUNDS to verify proper Monthly
 20        Reporting, and its compliance with the reporting and payment obligations of the
 21        Agreements, and, where there has been inaccurate Monthly Reporting, or other
 22        violations of the provisions of the Agreements, to determine the additional amounts
 23        due, and that the employer must pay the TRUST FUNDS' audit fees if it is
 24        delinquent to the TRUST FUNDS. The TRUST FUNDS have delegated the
 25        authority to perform such audits to ADMINCO.
 26             14.    The Agreements require employers to pay the TRUST FUNDS'
 27        attorneys’ fees and costs of litigation to enforce the Agreements' foregoing terms,
 28        including the Monthly Contribution, Monthly Reporting, subcontracting and audit

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   1       provisions.
   2
   3                                   FIRST CLAIM FOR RELIEF
   4                     (For Monetary Damages Due to Employee Benefit Plans)
   5               15.   ADMINCO repeats, realleges and incorporates by reference each and
   6       every allegation contained in paragraphs 1 through 14 above as if fully set forth here.
   7               16. As a result of EMPLOYER'S failure to pay the rates specified in the
   8       Agreements and its failure to comply with the subcontracting provisions of the
   9       Agreements, Plaintiff is informed and believes and thereupon alleges that there is
 10        now owing and unpaid to the TRUST FUNDS from EMPLOYER, during the period
 11        from March 2016 to March 2019 and October 2019, damages in the sum of at least
 12        $364,857.76 consisting of $435.69 in unpaid Monthly Contributions, $9,965.81 in
 13        liquidated damages, $1,920.00 in audit fees; $313,390.72 in Subcontracting
 14        Violation(s), and $39,145.54 in interest on the late and/or unpaid Monthly
 15        Contributions and Subcontracting Violation(s) owed to the TRUST FUNDS through
 16        January 10, 2020 ("known Delinquency"), with a potential credit of $2,520.52 plus
 17        additional accrued interest at the plan rate(s), currently 7.25% per annum, until
 18        payment is made, as well as any additional Monthly Contributions, liquidated
 19        damages, Subcontracting Violation(s), audit fees and interest on the additional
 20        amounts owed at the plan rate(s) according to proof at the time of trial or other
 21        hearing. The amounts owed by EMPLOYER were not discovered until the audit of
 22        EMPLOYER’S records was concluded in July 2019; therefore, the time within
 23        which to proceed with legal action to recover the amounts owed commenced at that
 24        time.
 25                17.   ADMINCO will establish by proof at the time of trial or through
 26        dispositive motion the Known Delinquency and any additional amounts determined
 27        to be due to the TRUST FUNDS by the EMPLOYER, including any additional
 28        Monthly Contributions, interest, liquidated damages, audit fees, fees for the

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   1       submission of checks not honored by the bank upon which they were drawn,
   2       attorneys’ fees and costs, and amounts owed as a result of work performed by
   3       subcontractors of the EMPLOYER (or lower-tier subcontractors). If deemed
   4       necessary by the Court, ADMINCO will amend its complaint to add any additional
   5       amounts determined to be due. Any and all conditions to the EMPLOYER’s
   6       obligations under the Agreements to pay the Known Delinquency and any additional
   7       amounts due under the Agreements to the TRUST FUNDS have been met.
   8             18.     It has been necessary for the TRUST FUNDS to engage counsel to bring
   9       this action to compel compliance with the AGREEMENTS which provide that in the
 10        event litigation is necessary with respect to any of the fringe benefit Monthly
 11        Contributions and/or damages against EMPLOYER, then EMPLOYER would pay
 12        reasonable attorney's fees and all other reasonable expenses of collection, including
 13        audit fees.
 14              19. Under the terms of the Agreements and Sections 515 and 502(g) of
 15        ERISA, EMPLOYER is liable to the TRUST FUNDS not only for the amount of
 16        delinquent Monthly Contributions but also (a) for pre-judgment and post-judgment
 17        interest on the delinquent sums (as provided for in Section 502(g) of ERISA); (b) for
 18        the higher of interest or liquidated damages (as provided for in Section 502(g) of
 19        ERISA); (c) for attorneys' fees; and (d) for other relief permitted by Section 502(g)
 20        of ERISA.
 21
 22                                  SECOND CLAIM FOR RELIEF
 23             (For Specific Performance of Obligation to Produce Records for Audit)
 24
 25              20.     ADMINCO repeats, realleges and incorporates by reference each and
 26        every allegation contained in paragraphs 1 through 19 above as if fully set forth here.
 27              21.     ADMINCO requested that the EMPLOYER produce its books and
 28        records for audit. The EMPLOYER has failed to comply with ADMINCO’s request

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   1       and has not fully produced its books and records for audit. ADMINCO requests that
   2       the Court exercise its authority under 29 U.S.C. §§ 1132(g)(2)(E) and 1132(a)(3) to
   3       order the EMPLOYER to comply with its obligation under the Agreements and
   4       ERISA to fully produce its books and records in order for ADMINCO to complete
   5       an audit to determine if additional amounts are due.
   6             22.   An award of attorneys’ fees and costs is provided for by Agreements and
   7       under sections 502(g)(1) and/or (g)(2) of ERISA (29 U.S.C. § 1132(g)(1) and/or
   8       (g)(2)).
   9
 10               WHEREFORE, ADMINCO prays for judgment as follows:
 11
 12                          ON ADMINCO'S FIRST CLAIM FOR RELIEF
 13                      [For Monetary Damages Due to Employee Benefit Plans]
 14
 15               A.   For $435.69 in unpaid Monthly Contributions, as required by the
 16        Agreements and 29 U.S.C. § 1132(g)(2)(A).
 17               B.   For $39,145.54 in interest (through January 10, 2020) on unpaid or late
 18        paid Monthly Contributions and subcontracting violations at the rate of five percent
 19        above the variable prime rate set by the Federal Reserve Board of San Francisco,
 20        California, plus such additional interest that has or does hereafter accrue from
 21        January 10, 2020, as required by the Agreements and 29 U.S.C. § 1132(g)(2)(B).
 22               C.   For $9,965.81 in liquidated damages for unpaid and late-paid Monthly
 23        Contributions at, for each of the TRUST FUNDS separately, the greater of 20% or
 24        $25 (except with respect to the Laborers Contract Administration Trust Fund for
 25        Southern California, for which liquidated damages are sought at the greater 10% or
 26        $20), as required by the Agreements and 29 U.S.C. § 1132(g)(2)(C).
 27               D.   For $313,390.72 in Subcontracting Violations as required by the
 28        Agreements and 29 U.S.C. §§ 1132(a)(3)(B), 1132 (g)(2), and 1145.

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   1             E.    For $1,920.00 in audit fees, as required by the Agreements and
   2       29 U.S.C. § 1132(g)(2)(E).
   3             F.    For, according to proof, any additional Monthly Contributions, interest,
   4       liquidated damages, audit fees, fees incurred by the TRUST FUNDS as a result of
   5       the submission of checks not honored by the bank upon which they were drawn, and
   6       amounts owed as a result work performed by any subcontractors of the EMPLOYER
   7       (or lower-tier subcontractors) determined to be due, with a potential credit of
   8       $2,520.52 pursuant to the Agreements and 29 U.S.C. §§ 29 U.S.C. §§ 1132(a)(3)(B),
   9       1132 (g)(2), and 1145.
 10              G.    For reasonable attorneys’ fees and costs of suit, as required by the
 11        Agreements and 29 U.S.C. § 1132(g)(2)(D).
 12              H.    For such other relief that this Court deems appropriate, pursuant to any
 13        authority of the Court, including but not limited to the authority established by 29
 14        U.S.C. §§ 1132(g)(2)(E) and 1132(a)(3).
 15
 16                         ON ADMINCO'S SECOND CLAIM FOR RELIEF
 17               [For Specific Performance of Obligation to Produce Records for Audit]
 18
 19               A. For the issuance of injunctive relief pursuant to the Agreements and
 20        29 U.S.C. §§ 1132(g)(2)(E) and/or 1132(a)(3) ordering the EMPLOYER and its
 21        managing officers, managing employees, agents and successors, as well as all those
 22        in active concert or participation with any one or more of them, to submit to an audit
 23        of the EMPLOYER’s records from at least April 2019, to fully cooperate with
 24        ADMINCO with respect to the audit in order for ADMINCO to determine the total
 25        amount due to the TRUST FUNDS by the EMPLOYER, and, specifically, to
 26        produce to ADMINCO the following payroll and business records – and any other
 27        records determined by ADMINCO to be necessary to conduct a full audit – for
 28        inspection, examination and copying:

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   1                   A.1. All of the EMPLOYER’s payroll and employee records, as well as
   2       any other records that might be relevant to a determination of the work performed by
   3       the EMPLOYER, its employees, its subcontractors, its lower-tier subcontractors and
   4       the employees of the EMPLOYER’s subcontractors and lower-tier subcontractors,
   5       including but not limited to payroll journals, employee earnings records, certified
   6       payroll records, payroll check books and stubs, cancelled payroll checks, payroll
   7       time cards and state and federal tax returns (and all other state and federal tax
   8       records), as well as labor distribution journals and any other records that might be
   9       relevant to an identification of the employees who performed work for the
 10        EMPLOYER, its subcontractors or lower-tier subcontractors, or which might be
 11        relevant to a determination of the projects on which the EMPLOYER, its employees,
 12        its subcontractors, lower-tier subcontractors or the employees of its subcontractors or
 13        lower-tier subcontractors performed work, including any records that provide the
 14        names, addresses, Social Security numbers, job classification or the number of hours
 15        worked by any one or more employee;
 16                    A.2. All of the EMPLOYER’s job files for each contract, project or job
 17        on which the EMPLOYER, its employees, its subcontractors, its lower-tier
 18        subcontractors or the employees of its subcontractors or lower-tier subcontractors
 19        worked, including but not limited to all correspondence, agreements and contracts
 20        between the EMPLOYER and any general contractor, subcontractor, owner, builder
 21        or developer, as well as all field records, job records, notices, project logs,
 22        supervisors' diaries and notes, employees' diaries and notes, memoranda, releases
 23        and any other records that relate to the supervision of the EMPLOYER’s employees,
 24        its subcontractors, its lower-tier subcontractors or the employees of its
 25        subcontractors and lower-tier subcontractors, or the projects on which the
 26        EMPLOYER, its employees, its subcontractors, its lower-tier subcontractors or the
 27        employees of its subcontractors or lower-tier subcontractors performed work;
 28                    A.3. All of the EMPLOYER’s records related to cash receipts,

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   1       including but not limited to the EMPLOYER’s cash receipts journals, accounts
   2       receivable journals, accounts receivable subsidiary ledgers and billing invoices for
   3       all contracts, projects and jobs on which the EMPLOYER, its employees, its
   4       subcontractors, its lower-tier subcontractors or the employees of its subcontractors or
   5       lower-tier subcontractors performed work;
   6                   A.4. All of the EMPLOYER’s bank statements, including but not
   7       limited to those for all checking, savings and investment accounts;
   8                   A.5. All of the EMPLOYER’s records related to disbursements,
   9       including but not limited to vendors' invoices, cash disbursement journals, accounts
 10        payable journals, check registers and all other records which indicate disbursements;
 11                    A.6. All collective bargaining agreements between the EMPLOYER
 12        and any trade union, and all records of contributions by the EMPLOYER to any
 13        trade union trust fund; and
 14                    A.7. All records related to the formation, licensing, renewal or
 15        operation of the EMPLOYER.
 16               B.   For reasonable attorneys’ fees and costs of suit, as required by the
 17        Agreements and provided for under 29 U.S.C. § 1132(g)(1) and/or (g)(2).
 18               C.   For such other relief that this Court deems appropriate, pursuant to any
 19        authority of the Court, including but not limited to the authority established by
 20        29 U.S.C. §§ 1132(g)(2)(E) and 1132 (a)(3).
 21
                                                 Alexander B. Cvitan,
 22                                              Marsha M. Hamasaki, and
                                                 Peter A. Hutchinson of
 23                                              REICH, ADELL & CVITAN
                                                 A Professional Law Corporation
 24
 25
           DATED: January 22, 2020               By:    /s/ Marsha M. Hamasaki
 26
                                                           MARSHA M. HAMASAKI
 27                                                          Attorneys for Plaintiff
 28

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